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   8
                            UNITED STATES DISTRICT COURT
   9

  10                FOR THE CENTRAL DISTRICT OF CALIFORNIA

  11   ALEXANDER STROSS, an individual,        )      Case No. 2:21-cv-08360-SVW-E
                                               )
  12                         Plaintiff,        )      TWITTER’S NOTICE OF
                                               )      MOTION AND MOTION TO
  13               v.                          )      DISMISS THE FIRST AMENDED
                                               )      COMPLAINT; MEMORANDUM
  14   TWITTER, INC., a Delaware Corporation; )       OF POINTS AND AUTHORITIES
  15   TERRY WILSON SWIMMING POOL & )                 IN SUPPORT THEREOF
       SPA, a business entity of form unknown; )
  16   and DOES 1 through 10,                  )      Date:        February 28, 2022
                                               )      Time:        1:30 p.m.
  17                         Defendants.       )      Courtroom:   10A
  18
                                               )      Judge:       Hon. Stephen V. Wilson
                                               )
  19                                           )
  20          PLEASE TAKE NOTICE that on Monday, February 28, 2022, or as soon
  21   thereafter as counsel may be heard, Defendant Twitter, Inc. (“Twitter”) will move
  22   the Court, before the Honorable Stephen V. Wilson, United States District Judge
  23   for the Central District of California, at 350 W. 1st Street, Los Angeles, California
  24   90012, to dismiss Plaintiff Alexander Stross’ First Amended Complaint against
  25   Twitter. The grounds for this motion are set forth in Twitter’s accompanying
  26   memorandum of points and authorities, and all pleadings and proceedings herein.
  27          This motion is made following the conference of counsel pursuant to Local
  28   Rule 7-3, which took place on January 18, 2022.


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   1   Dated: January 25, 2022                Respectfully submitted,
   2
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         Plaintiff’s original Complaint included claims for direct and “vicarious
   4   and/or contributory” copyright infringement based on allegations that Twitter
   5   provides a website that “allows users to publish posts which include images and
   6   videos,” that Twitter’s users posted copies of Plaintiff’s photographs, and that
   7   Twitter failed to remove or disable access to alleged infringements. Dkt. 1 ¶¶ 6,
   8   14, 25. Although the original Complaint asserted that Plaintiff sent “DMCA
   9   takedown notices to Twitter requesting removal of the [allegedly] Infringing Uses
  10   from Twitter’s website,” id. ¶ 16, it did not claim that Twitter received the notices
  11   or attach Plaintiff’s actual correspondence with Twitter. Twitter moved to dismiss
  12   the original Complaint because it failed to plead that Twitter—as opposed to its
  13   users—engaged in acts that directly caused the infringement of Plaintiff’s
  14   copyrights and because the Complaint failed to do anything more than recite the
  15   elements of the causes of action for “vicarious and/or contributory” copyright
  16   infringement. Dkt. 18 at 1.
  17         Following Twitter’s motion to dismiss, Plaintiff filed his First Amended
  18   Complaint (“FAC”). Dkt. 22. Although the FAC adds more than a dozen pages
  19   devoted to incendiary and incorrect claims regarding Twitter’s business and
  20   platform, it fails to cure the deficiencies in the original Complaint. Its allegations
  21   regarding Twitter’s volitional conduct fail to support an inference that Twitter was
  22   the direct cause of the alleged infringement of Plaintiff’s identified copyrights.
  23   And Plaintiff’s claim for “vicarious and/or contributory” infringement must be
  24   dismissed because, like the original Complaint, the FAC fails to plead sufficient
  25   facts to support an inference that Twitter had knowledge of the specific acts of
  26   alleged direct infringement, that Twitter materially contributed to or had the
  27   practical ability to stop such infringement, or that Twitter derived a direct financial
  28   benefit from it.

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   1         Notably, Plaintiff again fails to attach the correspondence referenced in the
   2   FAC. That correspondence shows that Twitter had no knowledge of the alleged
   3   copyright infringement and that Plaintiff had no interest in identifying the alleged
   4   infringement in a manner that would have enabled Twitter to stop it. Rather than
   5   taking the simple steps that would have put Twitter on notice, Plaintiff chose to
   6   manufacture a lawsuit, just as he has against approximately 90 other companies.
   7   See, e.g., Stross v. Meta Platforms, Inc., Case No. 2:21-cv-8023-MCS-AS, Dkt. 20
   8   (C.D. Cal. Dec. 20, 2021) (Plaintiff’s First Amended Complaint against Meta
   9   Platforms, f/k/a Facebook, which contains substantially similar allegations to
  10   Plaintiff’s FAC here). Having failed to provide actual notice to Twitter, Plaintiff
  11   cannot now complain that Twitter did not stop the alleged infringement or maintain
  12   his claims.
  13         Further amendment on any of these points will be futile. Accordingly, the
  14   Court should dismiss Plaintiff’s FAC with prejudice.
  15   II.   FACTUAL BACKGROUND
  16         Plaintiff filed his original Complaint against Twitter, Terry Wilson
  17   Swimming Pool & Spa, Leru Investments, LLC,1 and ten Doe defendants on
  18   October 21, 2021, alleging one claim for copyright infringement against all
  19   defendants and one claim for “vicarious and/or contributory copyright
  20   infringement” against Twitter. Dkt. 1. On December 21, 2022, Twitter moved to
  21   dismiss the Complaint on the grounds that Plaintiff failed to allege volitional
  22   conduct and failed to adequately plead that Twitter had knowledge of the specific
  23   acts of alleged direct infringement, that Twitter had the practical ability to stop
  24   such infringement, and that Twitter derived a direct financial benefit from it.
  25   Dkt. 18. In response, Plaintiff filed his FAC on January 11, 2022. Dkt. 22.
  26         Plaintiff’s FAC alleges the following facts, which must be taken as true for
  27   the purposes of this motion.
  28
       1
        Plaintiff dismissed Leru Investments, LLC as a defendant on December 22, 2022.
       Dkt. 21.
                                                  2
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   1         A.     Allegations Concerning Twitter’s Platform
   2         “Twitter’s Platform is an online microblogging and social networking
   3   service. After registering on that Platform, users can post and interact with (e.g.,
   4   like, respond to, ‘retweet,’ etc.) messages known as ‘tweets’ (which can include
   5   text, photographs, multimedia, etc.), communicate with other users and receive
   6   notifications on their activities, and more.” FAC ¶ 9. “Twitter places the content
   7   uploaded by users in the places on Twitter’s Platform that Twitter determines are
   8   optimal to maximize its own advertising revenues through, inter alia, user
   9   interaction with sponsored (i.e., paid) content.” Id. ¶ 10. Specifically, the FAC
  10   describes two categories of allegedly volitional conduct by Twitter.
  11         First, the FAC alleges that Twitter “selects, curates, suggests, recommends,
  12   and displays photos for and to users, irrespective of any user command to do so.”
  13   Id. at 4. It alleges that, “while users on Twitter’s Platform may decide what to
  14   tweet, Twitter decides what content (including photographs) is suggested,
  15   recommended, and/or displayed to users in their respective (and entirely separate
  16   and distinct) timelines,” and “through Twitter’s curation of the ‘trends,’
  17   ‘moments,’ searches, and advertisements on Twitter’s Platform, [Twitter] displays
  18   photographs to non-posting users that would otherwise only be seen on the posting
  19   user(s)’s profile page(s).” Id. ¶ 14. “Twitter performs [these] actions . . . through
  20   its team of employees in conjunction with processes and software that Twitter
  21   designed, engineered, and/or programmed to do the same.” Id. ¶ 15. That is, the
  22   actions are performed “algorithmically” and through “automated processes
  23   designed and controlled by human employees.” Id. ¶¶ 26, 66.
  24         A user’s “timeline displays tweets from accounts and ‘topics’ that a user
  25   ‘follows,’ [and] displays ‘suggested content’ and ‘recommended Tweets,’
  26   including photographs, from Twitter based on what Twitter decides will be most
  27   engaging for that user.” Id. ¶ 16. “Twitter predicts” what users care most about
  28   and makes “suggestions and recommendations.” Id. ¶¶ 17, 22; see id. ¶¶ 17–22.

                                                 3
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    1   Plaintiff does not allege that any human is making decisions involved in the
    2   timeline processes it describes.
    3         Twitter’s “trends” feature displays “the hottest emerging topics of
    4   discussion.” Id. ¶ 23. “Twitter ranks and determines the trends, and tailors those
    5   trends based on users’ interests, locations, and who they follow.” Id. The FAC
    6   quotes from Twitter’s FAQ page to allege that “Twitter manually monitors and
    7   adds ‘personalized’ context to trends” and “selects and applies categories to the
    8   trends ‘based on what the Tweets in the Trend are about.’” Id. ¶ 24. However, the
    9   FAQ page makes clear that “[t]rends are determined by an algorithm” and are
   10   “automatically selected.” Twitter Trends FAQ, Twitter Help Center, https://help.
   11   twitter.com/en/using-twitter/twitter-trending-faqs.
   12         Twitter’s “moments” feature refers to “stories about what’s happening
   13   around the world.” FAC ¶ 25. Plaintiff quotes from one of Twitter’s Help pages
   14   to allege that “Twitter creates some moments (e.g., sporting events or TV shows)
   15   algorithmically ‘to reflect the unfolding conversation while the event is
   16   happening,’ while Twitter prepares and creates other moments manually by its
   17   ‘Curation team.’” Id. As the same Help page explains, Twitter’s “moments”
   18   feature is intended to cover “what’s happening in the world,” including “the best
   19   things happening on Twitter across news, sports, entertainment, and fun.” Twitter
   20   Moments guidelines and principles, Twitter Help Center, https://help.twitter.com/
   21   en/rules-and-policies/twitter-moments-guidelines-and-principles. Examples
   22   include Tweets “at the center of a protest, the front row at the Oscars, on the field
   23   at the World Cup, or from outer space.” Id.
   24         The “search” function on Twitter’s platform allows users to search for
   25   content. FAC ¶ 29. The FAC quotes from one of Twitter’s FAQ pages to allege
   26   that “Twitter filters search results into categories it labels ‘Top,’ ‘Latest,’
   27   ‘Accounts/People,’ ‘Photos,’ or ‘Videos.’” Id. The FAC further alleges that
   28   “Twitter compiles [Top tweets] based on what it predicts the user is ‘likely to care

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    1   about first,’ [and] Twitter makes those determinations based on, inter alia, the
    2   popularity of a tweet . . . , not the chronological order in which the tweet was
    3   published.” Id. ¶ 30. “Twitter compiles the stream of tweets in the ‘Photos’
    4   category ‘much in the same way as top Tweets.’” Id. ¶ 31. Plaintiff does not
    5   allege that any human is making decisions involved in the search processes it
    6   describes, and the FAQ page from which the FAC quotes states: “Top Tweets are
    7   selected through an algorithm, we do not manually curate search results.” Search
    8   result FAQs, Twitter Help Center, https://help.twitter.com/en/using-twitter/top-
    9   search-results-faqs.
   10          Finally, the FAC discusses Twitter’s placement of advertisements on its
   11   platform. “Twitter displays paid content, ‘such as promoted Tweets or Retweets’
   12   including photographs, on users’ timelines.” FAC ¶ 32. The FAC alleges that
   13   “Twitter promotes paid-for content to certain users” and “targets those users”
   14   based on various user information. Id. ¶ 33. The FAC goes on to describe the
   15   “different types of Twitter Ads.” Id. ¶ 34; see id. ¶¶ 34–38. Plaintiff does not
   16   allege that any human is making decisions involved in the advertisement selection
   17   processes it describes.
   18          The FAC does not contain any allegations that any of Plaintiff’s photographs
   19   were ever selected for inclusion in Twitter’s timeline, trends, moments, search, or
   20   advertising features. See id. ¶¶ 14–38. To the contrary, the “representative
   21   examples of the Infringing Uses . . . set forth in Exhibit 1,” id. ¶ 52, consist entirely
   22   of user’s posts residing on a user’s personal profile, which Plaintiff admits is “the
   23   page that users curate themselves.” Id. ¶ 16, FAC, Ex. 1. The only allegation
   24   regarding Plaintiff’s photos is an unsupported allegation “upon information and
   25   belief” that Twitter “selects, curates, suggests and recommends photographs
   26   (including the Infringing Uses) for and to users, irrespective of any user command
   27   to display, distribute or otherwise use those photographs on Twitter’s platform.”
   28   Id. ¶ 13.

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    1          The second category of alleged volitional conduct by Twitter in the FAC
    2   involves the storing, caching, and distributing copies of photographs on Twitter’s
    3   servers and platform. Id. ¶¶ 39–43. Specifically, the FAC claims that “Twitter’s
    4   Platform is one of the biggest photograph-sharing platforms on the Internet” and
    5   “[t]o take advantage of that volume, Twitter uses ‘Blobstore,’ its scalable storage
    6   system built to store and deliver photographs.” Id. ¶ 39. Photographs are allegedly
    7   stored in certain “front-end servers” and “storage nodes,” and Twitter’s “Metadata
    8   store” records information required to retrieve photographs. Id. ¶¶ 40–41.
    9   “Twitter’s asynchronous queue server, ‘Kestrel,’ then replicates (i.e., creates
   10   copies of) the photograph to all of those data centers and assigns each a unique
   11   identifier.” Id. ¶ 42. “Twitter maintains its own caches . . . and ‘points of
   12   presence’ . . . so that photographs can be served from Twitter’s Blobstore to
   13   Twitter’s Platform entirely by Twitter.” Id.
   14          B.     Allegations Concerning Plaintiff’s Copyrights
   15          The FAC alleges that Plaintiff is a professional photographer and owner of
   16   copyright in, inter alia, 41 photographs registered with the U.S. Copyright Office
   17   (the “Subject Works”). Id. ¶ 51. Plaintiff claims that “Twitter (as well as users on
   18   Twitter’s Platform) copied, reproduced, published, created derivative works of,
   19   distributed, transmitted, stored, modified, manipulated, and/or otherwise used the
   20   Subject Works without license, authorization, or consent from [Plaintiff] on
   21   Twitter’s Platform and servers (collectively, the ‘Infringing Uses’).” Id. ¶ 52.
   22   However, as with his original Complaint, the “representative examples of the
   23   Infringing Uses . . . set forth in Exhibit 1,” id., consist entirely of user’s posts
   24   residing on a “user’s personal profile (i.e., the page that users curate
   25   themselves),” id. ¶ 16 (emphasis added); FAC, Ex. 1.
   26          The FAC acknowledges that users agree “not to do or share anything on
   27   Twitter’s Platform that infringes or violates someone else’s . . . intellectual
   28   property rights.” FAC ¶ 44. “If a copyright holder believes that content on

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    1   Twitter’s Platform infringes their copyright(s) in their protected work(s), the
    2   copyright holder can, inter alia, contact Twitter’s designated agent under the
    3   Digital Millennium Copyright Act (‘DMCA’).” Id. at ¶ 45. The copyright holder
    4   must provide certain information to Twitter for there to be “an effective Takedown
    5   Notice under the DMCA, 17 U.S.C. § 512,” including “identification of the
    6   copyrighted work allegedly infringed,” “identification of the allegedly infringing
    7   content,” and “information for Twitter to locate the allegedly infringing content on
    8   its Platform (e.g., a web address (‘URL’) for the allegedly infringing content).” Id.
    9         The FAC alleges that Plaintiff submitted two Takedown Notices to Twitter
   10   and that his counsel sent a third. Id. ¶¶ 53–56. However, like the original
   11   Complaint, the FAC does not attach Plaintiff’s actual correspondence with Twitter.
   12   That correspondence reveals that Plaintiff purported to identify the original works
   13   and allegedly infringing material in email attachments and that his counsel sent its
   14   entire correspondence as an email attachment. Exs. 1–3 to Declaration of Vanessa
   15   Szajnberg (“Szajnberg Decl.”). The correspondence informed Plaintiff that
   16   “[e]mail attachments are not accepted for security reasons, and are removed by our
   17   support system.” Id. Twitter provided instructions on how to submit a DMCA
   18   takedown notice “through [Twitter’s] copyright complaint form” in addition to a
   19   clickable URL to the form. Id. The FAC does not allege that Plaintiff submitted a
   20   notice in a format that Twitter could receive or that Twitter had knowledge of the
   21   specific acts of alleged infringement through some other means.
   22         After Plaintiff served his original Complaint, Twitter was able to identify the
   23   allegedly infringing material and remove it from the platform. FAC ¶ 59.2
   24

   25

   26

   27  The FAC alleges that “all but two of the Infringing Uses” were removed from
        2

      Twitter’s platform. FAC ¶ 59. Twitter has taken down all of the posts identified in
   28 Plaintiff’s original Complaint and the FAC. If Plaintiff provides the information
      necessary for Twitter to identify any further allegedly infringing material in a
      manner that Twitter can receive it, Twitter will remove such material.
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    1   III.   LEGAL STANDARD
    2          “To survive a motion to dismiss, a complaint must contain sufficient factual
    3   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
    4   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
    5   550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff
    6   pleads factual content that allows the court to draw the reasonable inference that
    7   the defendant is liable for the misconduct alleged.” Id. The general rule that a
    8   court must accept as true all of the factual allegations in a complaint does not apply
    9   to “‘naked assertions’ devoid of ‘further factual enhancement,’” “[t]hreadbare
   10   recitals of the elements of a cause of action, supported by mere conclusory
   11   statements,” or “legal conclusion[s] couched as . . . factual allegation[s].” Id.
   12   (quoting Twombly, 550 U.S. at 555–57). A complaint that relies on “labels and
   13   conclusions” or “a formulaic recitation of the elements of a cause of action” is
   14   insufficient to survive a motion to dismiss. Id. (quoting Twombly, 550 U.S. at
   15   555); see also 10E, LLC v. Travelers Indem. Co. of Connecticut, 483 F. Supp. 3d
   16   828, 837 (C.D. Cal. 2020).
   17   IV.    ARGUMENT
   18          A.     Plaintiff Has Not Alleged Any Volitional Conduct by Twitter to
                      Support His Direct Copyright Infringement Claim
   19

   20          To prove direct copyright infringement by Twitter, Plaintiff must show that
   21   Twitter violated at least one of the exclusive rights listed in 17 U.S.C. § 106. VHT,
   22   Inc. v. Zillow Grp., Inc., 918 F.3d 723, 731 (9th Cir. 2019). Plaintiff “must also
   23   establish causation, which is commonly referred to as the ‘volitional-conduct
   24   requirement.’” Id. (citing Perfect 10, Inc. v. Giganews, 847 F.3d 657, 666 (9th Cir.
   25   2017) ). As the Ninth Circuit has explained, the word “volition” in this context
   26   “simply stands for the unremarkable proposition that proximate causation
   27   historically underlines copyright infringement liability no less than other torts.” Id.
   28   (quoting Giganews, 847 F.3d at 666). That is, “direct liability must be premised

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    1   on conduct that can reasonably be described as the direct cause of the
    2   infringement.” Id. (emphasis in original) (quoting Giganews, 847 F.3d at 666).
    3         The volitional-conduct requirement “takes on greater importance in cases
    4   involving automated systems.” Id. To allege volitional conduct by Twitter,
    5   Plaintiff must allege facts showing that Twitter “exercised control (other than by
    6   general operation of its website); selected any material for upload, download,
    7   transmission, or storage; or instigated any copying, storage, or distribution of its
    8   photos.” Id. at 732 (cleaned up) (quoting Giganews, 847 F.3d at 666, 670).
    9   Plaintiff must allege that Twitter was “actively involved in the [alleged]
   10   infringement,” rather than simply a passive participant. Id. (emphasis in original);
   11   see also Long v. Dorset, 854 F. App’x 861, 863–64 (9th Cir. 2021) (affirming
   12   dismissal of complaint where no volitional conduct was alleged). “[A]utomatic
   13   copying, storage, and transmission of copyrighted materials, when instigated by
   14   others,” does not suffice. Zillow, 918 F.3d at 732 (quoting Giganews, 847 F.3d at
   15   670). Plaintiff must sufficiently allege that Twitter engaged in “actual infringing
   16   conduct with a nexus sufficiently close and causal to the illegal copying that one
   17   could conclude that the machine owner himself trespassed on the exclusive domain
   18   of the copyright owner.” Id. (emphasis added) (quoting CoStar Grp., Inc. v.
   19   LoopNet, Inc., 373 F.3d 544, 550 (4th Cir. 2004)).
   20         The Ninth Circuit’s decision in Zillow is controlling and illustrates the
   21   critical “‘distinction between active and passive participation’ in the alleged
   22   infringement.” Id. (quoting Giganews, 847 F.3d at 667). As with Twitter’s
   23   services, Zillow did not “select” the listing photos its users posted. As the court
   24   observed, Zillow’s “feed providers themselves select and upload every photo . . .
   25   that wind[s] up on the Listing Platform,” and “users, not Zillow, selected images to
   26   add to their personal boards and instigated the automatic caching process by saving
   27   a particular image.” Id. at 733, 737 (cleaned up). Based on these facts, the Ninth
   28   Circuit held that Zillow did not “exercise control” over the listing photos beyond

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    1   the “general operation of its website,” even though Zillow engineers
    2   “programmed” and “designed” the system. Id. at 733 (cleaned up). Zillow’s
    3   “behind-the-scenes technical work” including “produc[ing] cached copies of
    4   [plaintiff’s] images” and “automatically trim[ming] or pad[ding] images . . . [did]
    5   not amount to volitional conduct.” Id. at 738. The court emphasized that there is
    6   no direct liability where an online system “responds automatically to user’s input
    7   without intervening conduct by the website owner.” Id. (cleaned up).
    8   Accordingly, Zillow’s “automated processes storing or caching [plaintiff’s] photos
    9   [were] insufficiently volitional to establish that Zillow directly infringed.” Id. at
   10   737; see also Fox Broad. Co., Inc. v. Dish Network LLC, 747 F.3d 1060, 1067 (9th
   11   Cir. 2014) (“[O]perating a system used to make copies at the user’s command does
   12   not mean that the system operator, rather than the user, caused copies to be
   13   made.”); Williams v. Scribd, Inc., No. 09-cv-1836-LAB (WMc), 2010 WL
   14   10090006, at *6 (S.D. Cal. June 23, 2010) (a “social publishing” website that
   15   allows users to upload content does not act volitionally when its users upload
   16   infringing work onto the platform). “Nor [could] Zillow’s promotion of [its
   17   website], including encouraging users to share photos through its site, be seen as
   18   instigating user copying.” Zillow, 918 F.3d at 738 (cleaned up).
   19         Plaintiff’s FAC alleges that users can “register[] on [Twitter’s] Platform”
   20   and “post and interact with (e.g., like, respond to, ‘retweet,’ etc.) messages known
   21   as ‘tweets’ (which can include text, photographs, multimedia, etc.), communicate
   22   with other users and receive notifications on their activities, and more.” FAC ¶ 9.
   23   This is all user conduct that is not attributable to Twitter. See Zillow, 918 F.3d at
   24   737–38.
   25         The FAC further alleges—based on information and belief—that “Twitter
   26   (1) selects, curates, suggests, and recommends photographs (including the
   27   Infringing Uses) for and to users, irrespective of any user command to display,
   28   distribute, or otherwise use those photographs on Twitter’s Platform; and (2)

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    1   stores, caches, and distributes multiple copies of photographs on its servers and
    2   Platform, irrespective and independent of any user direction or requirements.”
    3   FAC ¶ 13. However, the facts pled in support of those allegations are insufficient
    4   to support Plaintiff’s direct infringement claim.
    5         First, the FAC describes Twitter’s timeline, trends, moments, searches, and
    6   advertisements features. Id. ¶¶ 14–38. However, these allegations do not
    7   demonstrate volitional conduct because the FAC alleges that the actions it
    8   describes are performed through “automated processes designed and controlled by
    9   human employees.” Id. ¶¶ 15, 66. In Zillow, the Ninth Circuit drew a “volitional-
   10   conduct line.” Zillow, 918 F.3d at 738. On one side of the line are “cases
   11   involving Internet service providers” that utilize “automated processes [for] storing
   12   or caching . . . photos” and for “promotion of [content], including encouraging
   13   users to share photos through its site.” Id. at 737–38. “[Such] conduct with
   14   respect to these photos amounts to, at most, passive participation in the alleged
   15   infringement . . . and is not sufficient to cross the volitional-conduct line.” Id. at
   16   738. An Internet service provider can cross that line, however, when human
   17   employees begin selecting and tagging images and making editorial, qualitative
   18   decisions to display a plaintiff’s images instead of other images. For example,
   19   Zillow crossed the line by having its employees select and tag 3,921 of plaintiff’s
   20   images for public display on a home-improvement blog featuring “photos of
   21   artfully-designed rooms.” Id. at 730, 736.
   22         Plaintiff does not allege any such human involvement in the selection of
   23   photographs here. At most, Plaintiff alleges that Twitter engineers programmed
   24   and designed the Twitter system, id. ¶¶ 15, 66, but that is insufficient. See Zillow,
   25   918 F.3d at 733 (rejecting plaintiff’s argument that “Zillow designed its system to
   26   cause the reproduction, display, and adaptation of [plaintiff’s] photographs”
   27   (cleaned up)).3
   28
        3
         The only other human involvement referenced in the FAC is the manual
        monitoring of trends and the creation of certain moments by Twitter’s alleged
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    1         Moreover, the allegations fail for the independent reason that Plaintiff has
    2   failed to allege any “nexus” between Twitter’s allegedly volitional conduct that is
    3   “sufficiently close and causal to the illegal copying.” Id. at 732 (emphasis added)
    4   (quoting CoStar, 373 F.3d at 550). Plaintiff dedicates numerous paragraphs to
    5   describing Twitter’s timeline, trends, moments, searches, and advertisements
    6   features, yet does not allege that any of his photographs were ever selected for
    7   display or inclusion in any of those features. FAC §§ A.1–5. To the contrary, the
    8   “representative examples of the Infringing Uses . . . set forth in Exhibit 1,” id. ¶ 52,
    9   consist entirely of user’s posts residing on a user’s personal profile, which Plaintiff
   10   admits is “the page that users curate themselves.” FAC, Ex. 1; FAC ¶ 16. Thus,
   11   even if the described algorithms and automated processes were sufficient to
   12   demonstrate volitional conduct (which they are not), the FAC is still insufficient
   13   because it fails to plead that they resulted in the copying of Plaintiff’s photographs.
   14         The FAC alleges “upon information and belief” that Twitter “selects,
   15   curates, suggests, and recommends photographs (including the Infringing Uses).”
   16   FAC ¶ 13; see also id. ¶ 66.a. However, such a conclusory allegation is precisely
   17   the type of “‘naked assertion[]’ devoid of ‘further factual enhancement’” that
   18   courts routinely hold should be given no weight. Iqbal, 556 U.S. at 678; 10E, LLC,
   19   483 F. Supp. 3d at 837; Karraa v. City of Los Angeles, No. 2:20-cv-7036-SVW
   20   (AGRx), 2020 WL 6882947, at *5 (C.D. Cal. Nov. 9, 2020); Lobstein v.
   21   Washington Mut. Mortg. Pass-Through Certificates WMALT Series 2007-OC1,
   22   No. 2:19-cv-07615-SVW (JPR), 2020 WL 5913897, at *3 (C.D. Cal. Aug. 27,
   23   2020), aff’d, No. 20-55998, 2021 WL 5405488 (9th Cir. Nov. 18, 2021).
   24

   25

   26 “Curation team” that finds and highlights “great Tweets”. FAC ¶¶ 24, 26, 27.
      There is no allegation that humans select photos for inclusion in the trends or
   27 moments generally or that Plaintiff’s photographs specifically were ever selected
      by a human. Id. To the contrary, the documents quoted in the FAC confirm that
   28 that “[t]rends are determined by an algorithm” and are “automatically selected.”
      Twitter Trends FAQ, Twitter Help Center, https://help.twitter.com/en/using-
      twitter/twitter-trending-faqs
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    1   Furthermore:
    2         Where, as here, some of the allegations are qualified with the phrase
              [“on information and belief”] and others are not, a reasonable
    3         inference arises that it is intended as caveat, to provide additional
              protection should plaintiff be unable to prove any of the factual
    4         allegations. It thus creates a further inference that plaintiff likely
              lacks knowledge of underlying facts to support the assertion, and is
    5         instead engaging in speculation to an undue degree.
    6   Elias v. Spotify USA Inc., No. 20-cv-8530-JFW (ASx), 2020 WL 11884714, at *3
    7   (C.D. Cal. Nov. 24, 2020) (alteration in original) (quoting Delphix Corp. v. Actifo,
    8   Inc., No. 13-cv-4613-RS, 2014 WL 4628490, at *2 (N.D. Cal. Mar. 19, 2014)).
    9   Accordingly, such allegations must be “accompanied by a statement of facts upon
   10   which the belief is founded.” Poppy Tex & Designs, Inc. v. Cont’l Logistic Serv.,
   11   Inc., No. 20-cv-3185-MWF (RAOx), 2020 WL 7315343, at *4 (C.D. Cal. Oct. 20,
   12   2020); see also Whiting v. Dep’t of the California Highway Patrol, No. 5:18-cv-
   13   2652-CAS (JEM), 2020 WL 5753231, at *10 n.4 (C.D. Cal. Sept. 1, 2020). The
   14   FAC includes no such facts and instead provides “representative examples” of the
   15   Infringing Uses consisting entirely of user’s posts residing on a user’s personal
   16   profile. Id. ¶ 52; FAC, Ex. 1.
   17         Finally, Plaintiff alleges that Twitter “stores, caches, and distributes multiple
   18   copies of photographs on its servers and Platform” and that “Twitter’s Platform,
   19   and the content thereon, is actively managed and updated by Twitter itself,
   20   including the data stored on Twitter’s servers (which necessarily includes the
   21   Infringing Uses).” FAC at 9; id. ¶¶ 39–43, 61. However, providing a purported
   22   description of how photographs are handled by Twitter’s automated platform and
   23   alleging that Plaintiff’s copyrights are “necessarily included” in the billions of
   24   other photographs on that Platform is plainly insufficient to plead volitional
   25   conduct. See Annabooks, LLC v. Issuu, Inc., No. 20-cv-04271-CRB, 2020 WL
   26   6873646, at *4 (N.D. Cal. Sept. 24, 2020) (granting motion to dismiss direct
   27   infringement claim because “[w]hile Annabooks alleges generally that Issuu
   28   ‘transmit[s] copies of [infringing] works from its servers to the computers of its

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    1   users,’ Annabooks makes no allegations regarding the transmission of this Work
    2   specifically” (emphasis in original)). Nor are Plaintiff’s allegations that Twitter
    3   “stores, caches, and distributes multiple copies of photographs on its servers and
    4   Platform” sufficient. FAC at 9; id. ¶¶ 39–43. The Ninth Circuit has squarely
    5   foreclosed this argument. Zillow, 918 F.3d at 738 (“Zillow produced cached
    6   copies of [plaintiff’s] images . . . This activity does not amount to volitional
    7   conduct.”); Giganews, 847 F.3d at 670 (quoting Religious Tech. Ctr. v. Netcom
    8   On-Line Commc'n Servs., Inc., 907 F. Supp. 1361, 1369 (N.D. Cal. 1995)) (the “act
    9   of designing or implementing a system that automatically and uniformly creates
   10   temporary copies of all data sent through it” is not volitional).
   11         Because the FAC fails to allege facts sufficient to establish volitional
   12   conduct by Twitter, its claim for direct copyright infringement should be
   13   dismissed.
   14         B.     Plaintiff Has Failed to Allege Facts Sufficient to Sustain His
                     “Vicarious and/or Contributory” Infringement Claim
   15

   16         Plaintiff’s second claim for relief against Twitter is for “Vicarious and/or
   17   Contributory Copyright Infringement.” FAC ¶¶ 70–80. Vicarious and
   18   contributory copyright infringement are separate doctrines with distinct elements
   19   that a complaint must sufficiently allege to survive a motion to dismiss.
   20   Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1171, 1173 (9th Cir. 2007).
   21                1.     Plaintiff’s Contributory Infringement Claim Should Be
                            Dismissed
   22

   23         To establish contributory infringement, a plaintiff must show that the
   24   defendant “(1) knew of the direct infringement; and (2) they either induced,
   25   caused, or materially contributed to the infringing conduct.”4 Luvdarts, LLC v.
   26   AT&T Mobility, LLC, 710 F.3d 1068, 1072 (9th Cir. 2013).
   27

   28   4
          Plaintiff must necessarily proceed under a material contribution theory and not an
        inducement theory. Inducement arises only where a defendant “intended and
        encouraged” infringement. Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020,
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    1                       a)    Plaintiff Fails to Plead Facts Showing Knowledge of
                                  Direct Infringement
    2

    3         Knowledge of direct infringement “requires more than a generalized
    4   knowledge by the [defendant] of the possibility of infringement.” Id. Plaintiff
    5   must allege that Twitter had “actual knowledge of specific acts of infringement.”
    6   Perfect 10, Inc. v. Giganews, Inc., No. 11-cv-07098-AB (SHx), 2014 WL
    7   8628031, at *7 (C.D. Cal. Nov. 14, 2014), aff’d, 847 F.3d 657 (9th Cir. 2017)
    8   (quoting Napster, 239 F.3d at 1021). The FAC alleges that through three
    9   takedown notices sent to Twitter in “March, April, and September 2021, Twitter
   10   had actual knowledge, and/or was aware of the facts or circumstances, of the
   11   Infringing Uses.” FAC ¶ 73. However, this allegation is belied by the very
   12   correspondence to which the FAC refers.
   13         This Court is permitted to consider the parties’ correspondence because it is
   14   referenced in the FAC and forms a basis of Plaintiff’s claims. Van Buskirk v.
   15   Cable News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002) (“Under the
   16   ‘incorporation by reference’ rule of this Circuit, a court may look beyond the
   17   pleadings without converting the Rule 12(b)(6) motion into one for summary
   18   judgment.”); Parrino v. FHP, Inc., 146 F.3d 699, 706 (9th Cir. 1998) (“[A] district
   19   court ruling on a motion to dismiss may consider a document the authenticity of
   20   which is not contested, and upon which the plaintiff’s complaint necessarily
   21   relies.”), superseded by statute on other grounds as recognized in Abrego Abrego
   22   v. Dow Chem. Co., 443 F.3d 676, 681 (9th Cir. 2006); Singer by Singer v. Paul
   23   Revere Life Ins. Co., No. 14-cv-8700-MMM (MRWx), 2015 WL 13357516, at *2
   24   (C.D. Cal. Nov. 18, 2015) (considering letters from defendants to plaintiff because
   25   they were essential to plaintiff’s claims). Moreover, the “court need not . . . accept
   26   as true allegations that contradict matters properly subject to judicial notice or by
   27

   28   1037 (9th Cir. 2013) (quoting Metro-Goldwyn-Mayer Studios Inc. v. Grokster,
        Ltd., 545 U.S. 913, 940 n.13 (2005)). The FAC does not allege that Twitter
        intended or encouraged any infringement of Plaintiff’s copyrights.
                                                15
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    1   exhibit.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008). In
    2   fact, “[w]hen documents incorporated in the complaint or subject to judicial
    3   notice contradict the allegations of the complaint, the exhibits govern.”
    4   Babadjanian v. Deutsche Bank Nat’l Tr. Co., No. 10-cv-2580-MMM (RZx), 2011
    5   WL 13214300, at *13 n.81 (C.D. Cal. Mar. 29, 2011).
    6         Here, the correspondence shows that Twitter did not receive the information
    7   necessary to put it on notice of the alleged infringement. Specifically, Plaintiff
    8   alleges that he sent his first alleged notice in March 2021, but the correspondence
    9   states that Plaintiff purported to identify the “Infringing material” in an email
   10   attachment. Ex. 1 to Szajnberg Decl. Twitter responded by informing Plaintiff
   11   that “Email attachments are not accepted for security reasons, and are removed by
   12   our support system.” Id. Twitter also provided Plaintiff instructions on how to
   13   submit his DMCA takedown notice “through [Twitter’s] copyright complaint
   14   form” and provided a clickable URL to the form. Id. Plaintiff does not allege that
   15   he submitted the information this way, and he did not. Instead, Plaintiff sent
   16   another takedown notice in April 2021 as another email attachment. Ex. 2 to
   17   Szajnberg Decl. Twitter again informed Plaintiff that due to security reasons his
   18   email attachments were not received and provided Plaintiff instructions on how to
   19   submit his DMCA takedown notice. Id. Plaintiff again did not do so.
   20         In September 2021, Plaintiff’s counsel purportedly sent a takedown notice to
   21   Twitter, but again the letter was sent as an email attachment. Ex. 3 to Szajnberg
   22   Decl. The FAC describes this takedown notice as including screen captures and
   23   lists of URLs in clickable form and expresses surprise that Twitter did not remove
   24   the allegedly infringing photographs. Id. ¶ 55. But the correspondence shows that
   25   Twitter informed Plaintiff’s counsel that it could not receive email attachments for
   26   security reasons, as Twitter had communicated to Plaintiff himself. Exs. 1–2 to
   27   Szajnberg Decl. Instead of following the instructions to submit Plaintiff’s
   28


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    1   takedown notice or otherwise provide actual notice to Twitter, Plaintiff and its
    2   counsel filed this lawsuit.5
    3         That the FAC refers to but does not attach the correspondence above is
    4   telling. Plaintiff and his counsel knew well that Twitter had not received the
    5   information necessary to put it on notice of any alleged infringement. But instead
    6   of complying with a simple request to provide the information in a manner that did
    7   not present a security risk, Plaintiff and his counsel chose to keep silent so that
    8   they could file a lawsuit. Such manufacturing of a dispute should not be condoned,
    9   and Plaintiff’s contributory copyright infringement claim should be dismissed
   10   because the documents relied on in the FAC, but not attached to it, show that
   11   Twitter did not obtain knowledge of the specific instances of alleged direct
   12   infringement. See Lehr v. Fed. Nat’l Mortg. Ass’n, No. 2:17-cv-8465-JAK
   13   (MRWx), 2018 WL 11253974, at *5 (C.D. Cal. June 20, 2018) (granting motion to
   14   dismiss where allegations supporting claims were conclusory and contradicted by
   15   documents attached to the complaint); Pineda v. Mortg. Elec. Registration Sys.,
   16   Inc., No. 5:13-cv-2089-JLS (DTBx), 2014 WL 346997, at *2 (C.D. Cal. Jan. 29,
   17   2014) (dismissing claims with prejudice where “the recorded documents contradict
   18   Plaintiffs’ allegations in their Complaint, and Plaintiffs are unable to offer any
   19   evidence that the recorded documents are not accurate”); Babadjanian, 2011 WL
   20   13214300, at *13 n.81.
   21                       b)     Plaintiff Fails to Adequately Plead that Twitter Could
                                   Have Taken “Simple Measures” to Find and Remove
   22                              Plaintiff’s Photographs
   23         Plaintiff’s contributory infringement claim fails for the additional reason that
   24   the FAC fails to adequately allege material contribution from Twitter to the alleged
   25

   26   Plaintiff’s allegation that “Twitter never replied” further to his counsel’s letter is
        5

      demonstrably false. FAC ¶ 58 (cleaned up). Twitter sent a further email to
   27 Plaintiff’s counsel on October 8, 2021, again stating that the attachment had not
      been received and requesting that Plaintiff submit his complaint in the body of an
   28 email, through Twitter’s online DMCA form, or using a link Twitter provided to
      upload it directly. Ex. 4 to Szajnberg Decl. Plaintiff and his counsel did not
      identify the allegedly infringing material using any of these mechanisms.
                                                17
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    1   direct infringement by third parties. See Luvdarts, 710 F.3d at 1072. In the
    2   Internet context, a plaintiff must allege that a defendant “can ‘take simple measures
    3   to prevent further damage’ to copyrighted works, yet continues to provide access to
    4   infringing works.” Amazon.com, 508 F.3d at 1172 (citation omitted). Only simple
    5   measures are required of a service provider because Congress has “place[d] the
    6   burden of policing copyright infringement—identifying the potentially infringing
    7   material and adequately documenting infringement—squarely on the owners of the
    8   copyright.” Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1113 (9th Cir. 2007).
    9         Here, the FAC alleges in the most conclusory terms that “Twitter has the
   10   tools, resources, staff, technological capabilities, and knowledge of/about
   11   photographs on its Platform and servers (including the Infringing Uses) to
   12   expeditiously locate and remove the Infringing Uses, and thereby prevent further
   13   infringement of [Plaintiff’s] copyrights in the Subject Works. Indeed, doing so
   14   requires only simple measures from Twitter.” FAC ¶ 74. But the FAC does not
   15   plead any facts in support of this assertion and thus, it should not be given any
   16   weight. See Iqbal, 556 U.S. at 678. It is also facially not credible. Twitter never
   17   received notice of Plaintiff’s original works or the allegedly infringing content.
   18   Supra Section IV.B.1.a. The FAC provides no explanation of what “simple
   19   measures” Twitter could have taken without such notice, and employing tools,
   20   resources, staff, and technologies to identify, locate, and remove unidentified
   21   copies of Plaintiff’s photographs among billions of other photographs on “one of
   22   the biggest photograph-sharing platforms on the Internet,” FAC ¶ 39, goes well
   23   beyond what the law requires.
   24         Accordingly, Plaintiff has not properly alleged that Twitter in any way
   25   materially contributed to the alleged infringements, and his claim for contributory
   26   infringement should be dismissed. See Giganews, 847 F.3d at 671 (plaintiff’s
   27   submission of generalized takedown demands for its photographs did not provide
   28   defendant “simple measures” for removing the images because plaintiff’s notices

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    1   did not include machine-readable information for the photographs); Nat’l Photo
    2   Grp., LLC v. Allvoices, Inc., No. 13-cv-3627-JSC, 2014 WL 280391, at *7 (N.D.
    3   Cal. Jan. 24, 2014) (granting motion to dismiss claim for contributory infringement
    4   where “Plaintiff fail[ed] to allege what ‘simple measures’ Defendant failed to take
    5   to prevent further damage to the copyrighted photographs”).
    6                2.     Plaintiff’s Vicarious Infringement Claim Should Be
                            Dismissed
    7

    8         “[T]o succeed in imposing vicarious liability, a plaintiff must establish that
    9   the defendant exercises the requisite control over the direct infringer and that the
   10   defendant derives a direct financial benefit from the direct infringement.”
   11   Amazon.com, 508 F.3d at 1173. Plaintiff fails to allege sufficient facts to support
   12   either control or direct financial benefit beyond simply reciting those elements.
   13                       a)     Plaintiff Fails to Sufficiently Plead That Twitter
                                   Exercised the Requisite Control Over the Direct
   14                              Infringement
   15         Control over another’s direct infringement requires that a defendant “has
   16   both a legal right to stop or limit the directly infringing conduct, as well as the
   17   practical ability to do so.” Id. (emphasis added). Similar to Plaintiff’s failure to
   18   allege that Twitter can take “simple measures” to prevent further direct
   19   infringement, Plaintiff fails to plead sufficient facts to support an allegation that
   20   Twitter had the practical ability to stop or limit the infringement.
   21         The FAC alleges that “Twitter has the tools, resources, staff, technological
   22   capabilities, and knowledge of/about photographs on its Platform and servers
   23   (including the Infringing Uses) to expeditiously locate and remove the Infringing
   24   Uses, and thereby prevent further infringement of Stross’ copyrights in the Subject
   25   Works”; that “Twitter has the right and ability to supervise its Platform and the
   26   content posted thereon, including removing copyright-infringing content”; and that
   27   “Twitter also has the right and ability to oversee the uses of the Infringing Uses on
   28   its Platform.” FAC ¶¶ 71, 74. However, these conclusory allegations do not

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    1   establish that Twitter had the practical ability to identify and stop the specific
    2   alleged direct infringement about which Plaintiff now complains but did not
    3   identify to Twitter.
    4         The Ninth Circuit’s decision in Zillow is again controlling. In Zillow, the
    5   court held that “the vicarious liability theory [does not] fit the Zillow platform”
    6   because “Zillow lacked the practical ability to police its users’ infringing conduct.”
    7   Zillow, 918 F.3d at 746 (cleaned up). Specifically, “there was insufficient
    8   evidence that Zillow had the technical ability to screen out or identify infringing
    9   [plaintiff] photos among the many photos that users saved or uploaded daily.” Id.
   10   (emphasis added). The Ninth Circuit’s decision in Amazon.com, is also instructive.
   11   There, the court found that Google lacked the practical ability to police infringing
   12   activity because doing so would require it to “analyze every image on the
   13   [I]nternet, compare each image to all the other copyrighted images that exist in the
   14   world . . . and determine whether a certain image on the web infringes someone’s
   15   copyright.” Amazon.com, 508 F.3d at 1174 (alteration in original). Plaintiff’s
   16   threadbare allegations that Twitter had the ability to oversee its users’ conduct
   17   generally is insufficient to establish a practical ability to stop the alleged direct
   18   infringement of Plaintiff’s copyrights specifically. Accordingly, Plaintiff’s
   19   vicarious liability claim should be dismissed.
   20                          b)   Plaintiff Fails to Sufficiently Plead That Twitter
                                    Financially Benefited From the Direct Infringement
   21

   22         Plaintiff’s vicarious infringement claim fails for the additional reason that
   23   Plaintiff does not adequately allege that Twitter financially benefited from the
   24   direct infringement of Plaintiff’s copyrights. To satisfy this requirement, Plaintiff
   25   must allege facts establishing a causal relationship between a financial benefit and
   26   the “infringement of the plaintiff’s copyrighted material, rather than general
   27   infringement.” Giganews, 847 F.3d at 673. Notwithstanding the hyperbolic
   28   allegations in the FAC about Twitter and its business, “[t]his action is a specific

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    1   lawsuit by a specific plaintiff against a specific defendant about specific
    2   copyrighted images; it is not a lawsuit against copyright infringement in general on
    3   [defendant’s platform].” Giganews, 847 F.3d at 673 (quoting Giganews, Inc., 2014
    4   WL 8628031, at *4). Thus, Plaintiff must show that “customers were drawn to
    5   [defendant’s] services because of the infringing . . . material at issue.” Id. at 674
    6   (emphasis added). The financial benefit must be direct, such as fees paid by
    7   customers or advertisers, rather than an increase in the value for investors caused
    8   by a greater number of users or advertisers. UMG Recordings, Inc. v. Veoh
    9   Networks Inc., No. 07-cv-5744-AHM (AJWx), 2009 WL 334022, at *6 (C.D. Cal.
   10   Feb. 2, 2009).
   11         Here, the FAC alleges that Twitter generally benefits financially from
   12   “plac[ing] the content uploaded by users in the places on Twitter’s Platform that
   13   Twitter determines are optimal to maximize its own advertising revenues through,
   14   inter alia, user interaction with sponsored (i.e., paid) content.” FAC ¶ 10. That is
   15   insufficient because it is unconnected to Plaintiff’s photos. The FAC further
   16   alleges, upon information and belief, that Twitter “[f]inancially benefits from the
   17   Infringing Uses by, inter alia, displaying and distributing those Uses in
   18   conjunction with advertisements, offers, and other sponsored content.” Id. ¶ 66.c.
   19   However, Plaintiff fails to plead any facts to support these conclusory allegations
   20   based on information and belief, nor could he. Plaintiff has not alleged, and cannot
   21   plausibly allege, that Twitter has added to its user base, received increased
   22   revenues, or indeed received any benefit (much less a direct financial one) because
   23   of its users’ alleged infringements of Plaintiff’s photos and videos. Plaintiff’s
   24   threadbare allegations are therefore insufficient as a matter of law. Perfect 10, Inc.
   25   v. Google, Inc., No. 04-cv-9484-AHM (SHx), 2010 WL 9479060, at *9 (C.D. Cal.
   26   July 30, 2010); Parker v. Google, Inc., 422 F. Supp. 2d 492, 500 (E.D. Pa. 2006);
   27   UMG Recordings, Inc. v. Grande Commc’ns Networks, LLC, No. A-17-CA-365-
   28   LY, 2018 WL 1096871, at *10 (W.D. Tex. Feb. 28, 2018).

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    1         C.      The Deficiencies in Plaintiff’s FAC Cannot Be Cured by
                      Amendment and It Should be Dismissed with Prejudice
    2

    3         Plaintiff’s FAC should be dismissed with prejudice. The Ninth Circuit has
    4   made clear that a court should not grant leave to amend if doing so would be an
    5   “exercise in futility” or “where the amended complaint would also be subject to
    6   dismissal.” Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1298 (9th Cir. 1998).
    7   Denying leave to amend is particularly appropriate where, as here, Plaintiff has
    8   already amended his claims and can provide no satisfactory explanation for his
    9   failure to fully develop his contentions originally. Allen v. City of Beverly Hills,
   10   911 F.2d 367, 374 (9th Cir. 1990); see also Ascon Props., Inc. v. Mobil Oil Co.,
   11   866 F.2d 1149, 1160 (9th Cir. 1989) (“The district court’s discretion to deny leave
   12   to amend is particularly broad where plaintiff has previously amended the
   13   complaint.”).
   14         Plaintiff’s direct infringement claim cannot be saved by amendment because
   15   the alleged volitional conduct is performed algorithmically and automatically
   16   without human input. Furthermore, there is no nexus between the alleged
   17   volitional conduct and Plaintiff’s photographs. Plaintiff cannot allege truthfully
   18   that any of his photographs were ever selected by a human for display or inclusion
   19   in any timeline, trends, moments, searches, or advertisements on Twitter’s
   20   platform. To the contrary, Exhibit 1 to Plaintiff’s original Complaint and Exhibit 1
   21   to Plaintiff’s FAC, both of which Plaintiff asserted contain “representative
   22   examples of the Infringing Uses,” consist entirely of user’s posts residing on a
   23   “user’s personal profile . . . that users curate themselves.” Id. ¶ 16; Dkt. 18, Ex. 1;
   24   FAC, Ex. 1.
   25         Plaintiff’s contributory and vicarious infringement claims cannot be saved
   26   by amendment either. Plaintiff cannot show that Twitter had knowledge of the
   27   specific acts of direct infringement because Plaintiff purposefully kept that
   28   knowledge from Twitter. Without showing actual notice, Plaintiff cannot show

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    1   Twitter could have taken simple measures to find and remove Plaintiff’s
    2   photographs or that Twitter had the practical ability to stop or limit the direct
    3   infringement. Finally, Plaintiff has twice failed to allege that Twitter somehow
    4   directly benefited financially from the direct infringement of Plaintiff’s
    5   photographs and it cannot do so.
    6         Accordingly, all of Plaintiff’s claims should be dismissed with prejudice.
    7   V.    CONCLUSION
    8         For the foregoing reasons, the Court should grant this Motion and dismiss
    9   Plaintiff’s FAC against Twitter with prejudice.
   10

   11   Dated: January 25, 2022                     Respectfully submitted,
   12
                                                    DAVIS POLK & WARDWELL LLP

   13
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